Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 1 of 20

EXHIBIT Z-11
~ 1/2020 Mail - Steph _ Elston L - Outlook
Pe Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 2 of 20

Re: Acting Status at Grand Canyon National Park

Risser, Mary V <Mary_Risser@nps.gov>

Thu 5/7/2020 3:06 PM

To: Burnette, Chris C <chris_burnette@nps.gov>; NPS GRCA Executive Team <grca_executive_team@nps.gov>
Ce: Roche, Michael A <Michael_Roche@nps.gov>; Reynolds, Michael T <Michael_Reynolds@nps.gov>

Good job, Chris. Thank you!

Mary Risser

Acting Superintendent
Grand Canyon National Park
P.O. Box 129

Grand Canyon, AZ 86023

928.638.7945

From: Burnette, Chris C <chris_burnette@nps.gov>

Sent: Thursday, May 7, 2020 3:02 PM

To: NPS GRCA Executive Team <grca_executive_team@nps.gov>

Ce: Roche, Michael A <Michael_Roche@nps.gov>; Reynolds, Michael T <Michael_Reynolds@nps.gov>

Subject: Acting Status at Grand Canyon National Park
24 Hour Notice of Change of Leadership at Grand Canyon National Park

Ed Keable will be arriving at the Grand Canyon tomorrow, Friday, May 8th, 2020.
Mary Risser will remain the Acting Superintendent until COB that day. Ed will

then take over.

To accommodate this, I'd like to request a document hold on documents that
require the Superintendent's signature, until Ed is in the office on Monday.

As areminder, going forward, please have your staff include Ed's name on
documents as Superintendent, instead of using Mary's. Mary will remain the
signing authority until tomorrow afternoon for any emergency items that may pop
up before Ed is in the office.

If you have any questions, please feel free to contact me.

Thank you,

Chris Burnette

National Park Service
Executive Management Analyst
Office of the Superintendent
Grand Canyon National Park
P.O. Box 129

https://outlook.affice365.com/mail/search/ id/ AAQKAGFEY|ZIYTg4LTAYNTIINDQyOSO5ZTH|LTZkZjA0ZjZHMWY 1NWAQAOwSpSya%2FYVAIDKIBGoKtjl... 1/2
5/31/2020 Mail - Stephenson, Elston L - Outlook

Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 P
Grand Canyon, AZ 86023 age 3 of 20

Office: (928) 638-7075
Cell: (928) 864-7914

Keep update urrent status ivities and cl in the Park d VID-19.

mm FIND YOUR

ga

* PARK

https://outlook.office365.com/mail/searchlid/AAQKAGFKYJZIYTg4LTAYNTIt(NDQyOSOSZTHLTZkZj|AOZjZHMWY 1 NwAQAOwSp5ya%2FYVAIDKIBGoKtj!... 2/2
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 4 of 20

EXHIBIT Z-12
5/31/2020 Mail - Stephenson, Elston L - Oullook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 5 of 20

Re: [EXTERNAL] fire extinguisher report

Stephenson, Elston L <elston_stephenson@nps.gov>
Thu 1/2/2020 1:07 PM

To: Drapeaux, Brian J <brian_drapeaux@nps.gov>
Cc: Carrico, Lisa <Lisa_Carrico@nps.qov>; Risser, Mary V <Mary_Risser@nps.gov>

Brian,
Each of the pics is time-stamped December 23, 2019.
As of Monday December 30, 2019 the situation was unchanged.

If the fire extinguisher/sprinkler system defects (of David's text) are true, this is big trouble.

Thank You.

Sincerely,

Elston
928-255-8727

On Thu, Jan 2, 2020 at 11:48 AM Drapeaux, Brian <brian drapeaux@nps.gov> wrote:
| Hello
| i

| Did you (Elston) personally review these issues you are highlighting recently? | received
confirmation from our Administrative Officer Jill Lewis that the situations were resolved by the
building owner by the end of the week of December 20, 2019. As our Administrative Officer and
being stationed in Flagstaff, it has made sense for that GS-14 position to act as the liaison with the
USFS and the building management. Up to this most recent situation, | have not heard of any other
issues regarding the building management or issues related to the fire extinguishers.

Jill is on AVL until next week. | will follow up with her today to review the situation.

Thanks,
Brian

Brian Drapeaux

Deputy Superintendent, Business Operations
Grand Canyon National Park

P.O. Box 129

Grand Canyon AZ 86023

928-638-7945 Phone

928-638-7815 Fax

Brian Drapeaux@nps.gov

https://outlook.office365.com/mail/search/id/AAQkAGFRY|ZIY Tg4LTAYNTIINDQyOSOSZTH|LTZkZjAOZjZHMWY 1NWAQAMP|gSuwYIHndocFs7NodQ%... 4/5
5/31/2020 Mail - Stephenson, Elston L- Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 6 of 20

On Thu, Jan 2, 2020 at 8:24 AM Stephenson, Elston <elston stephenson@nps.gov> wrote:
Lisa, Brian,

Good Morning and Happy New Year.

Unfortunately, whatever effort was taken to correct the safety violations in the Coconino/Flagstaff
building has failed---or at least only completed 1/3 of the identified gigs. And marred our safety

brand.

The expired fire extinguishers were inspected and tagged,

There was a failure (for the 5th time) to fix the Emergency Exit sign on the East end of office 270.
(pic 9, 9A) even though it has been clearly marked with a ‘Fix Me! sign for nearly a month.

There was a failure to unlock 3 of the fire extinguisher cases (pics 3, 3A, 6, 6A, 7, 7A). This not only
creates apprehension by the workers, but also prevents monthly inspections.

|

|
|
|

| The IT fire extinguisher was not inspected or renewed at all (pic 5)
| Then there was the bizarre situation; on December 16, and December 17, 2019 all of the fire
extinguishers were pulled from their cases and lined along the wall of the main hall. This not only
created confusion and concern among the workers (several mentioned it to me), but, itself may

| have constituted several OSHA violations as there are actually accessibility distances---50ft max
for Class B, based on Class of fire extinguisher per 29CFR 1910.157(d)(4).

Not only that, but this was not communicated to the workforce. Had someone in an emergency
gone---particularly to one of the interior (non-hall) fire extinguisher cases (already programmed
in their muscle memory) they would have come to an empty case.

Additionally, the ‘repairs’ are losing their discipline with regards to leaving clear paths for folks to
emergency egress. (pic 10)

_ The contractor, David's, who last inspected the extinguishers and system left me with a
| | concerning text (pic 11) which may contain more OSHA Willful violations regarding the sprinkler
| and alarm system. If true, this is especially concerning,

These are the seemingly disparate ingredients that you only read about (with a head scratch) in
| the aftermath of tragedies and must be corrected.

|
| Respectfully, more importantly; the real damage to these failures is that Our workers are talking
about them. This has become our brand and demonstration of how we care about our workers.

| Please let's give my original suggestion a try and have a Deputy Superintendent have a high level
| discussion with either the Forestry Service or building owner rather than hand this off to others.
"And please, please let's not continue to abdicate the safety of Our Team to someone who Willfully
| Jet the extinguishers to expire in the first place and who needs at least 6 tries to find a broken

|
|
|
|
|
|
|
|
| | Emergency Exit sign tagged with a ‘Fix Me' banner.
| gency g 9g

|

https://outlook.office365,com/mail/search/id/AAQKAGFKYZIYT g4LTAYNTItNDQyOSO52ZThLTZkZjA0ZjZhMWY INWAQAMPIJg5uwYlHn3ecFs7NodQ%... 2/5
5/31/2020 Mail - Stephenson, Elstan L - Gutlook

Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 7 of 20

| Our workers are taking note,

| |
|
| | Thank You.
| |

|

| | SIngerey,

Elston
928-255-8727

Reference

1. U.S, Department of Labor (2019). OSHA. 29CFR 1910.17 Fire protection. portable fire extinguishers.
Retrieved from https://www.osha.gov/laws-regs/regulations/standardnumber/1910/1910,157

| | On Sat, Dec 14, 2019 at 3:01 PM Stephenson, Elston <elston stephenson@nps.gov> wrote:

| | | Lisa, Brian,
| Good Afternoon.

This is a concerned follow-up from yesterday's "Fire Extinquisher/Emergency Exits CoCo
Building” email.

Please receive this ‘report’ that Dave's Professional sent to me as | was on the phone with them
in the Coconino building conducting inspections.

The concern---particularly after receiving this ‘report’ (! only opened it this morning) from
Dave's Professional Extinguisher Servicing is that this is now an 'OSHA Willful’ violation
situation. | had a feeling as Dave was letting me know during yesterday's phone call that they
| had engaged Building Owner's Maint Tech several times some months ago. The date of the

| 'report’, October 23, 2018 (attached) confirms this.

Another concern is that we immediately take action so that Coconino and Building Owner's
‘Willful’ does not became ours

And concerned that we look after our workers and best convey our commitment and
seriousness by communicating and correcting this situation ASAP.

While the good news is that GRCA/NPS (upstairs) wasn't the only section with expired fire

| The worst news is that somebody---at least Building Owner Maintenance Tech and likely
| | Coconino knew (forewarned) of the upcoming expiration of the fire extinguishers and let them
| | expire anyway: OSHA Willful violations (per extinguisher) IAW OSHA 29CFR 1910.157(e)(3) and

| likely 29CFR 1910.157(e)(4) (below)

https://outlook.office365,com/mail/search/id/AAQKAGFKY)ZIYTo4LTAYNTIINDQyOSOSZThjLTZkZjA0ZjZhMWY 1 NwAGAMP\JgSuwYlHn30cFs7NodQ%...

\ |
_ extinguishers; the bad news is that all of the fire extinguishers in the entire building are expired.
|

3/5
5/31/2020 Mall - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 8 of 20

|
|
| | Applying the OSHA 'multi-employer' differentiated liability model, GRCA/NPS is the ‘Exposing!
| | employer (for NPS employees). Depending on contractual obligations Building Owner or
| Coconino Forestry are ‘Creating’, 'Controlling' and ‘Correcting’. Again, we should not allow their
| | Willful become ours.

|
|
Also, | purchased some 'Post-It's to attach to the fire extinguishers to let out workers know of
the hazard (OSHA requirement) only to find that several of the wall cases are locked shut with

an inaccessible ‘break glass' handle on the door.

| Recommend that GRCA/NPS lets Coconino Forestry know verbally in writing of the violations

with the expression that while this violation is several links away from an accident/injury; this

exposure is unacceptable and requires immediate correction. And that this notification be
someone higher in the authority chain than the Maintenance Tech. :

| Also recommend that GRCA/NPS request that the extinguishers be unlocked because this is not
| conducive to conducting and documenting required monthly checks, and that there is near-no

| possibility that our workers will engage in the theft or misuse that such measures are intended
| | to prevent.
|

_ As we report our progress on Inspections to OSHA, OSHA will be looking for some sort of

| | summary which list any defects/hazards discovered during the inspections. But they will also

expect to see what corrective action was taken to fix those defects/hazards. This will be one of

them. Respectfully, OSHA will be less impressed with our volume than action taken on identified
hazards.

|

It is important that GRCA/NPS not let Coconino/Building Owner's Willful violation become our
Willful violation, The best way to do this is to, again; make the senior-most persons aware of the
extinguishers both verbally and in writing. And to get it fixed immediately.

| will attach pics of the 7 extinguishers that | inspected. According to the list there is likely 1 in
the break room that | missed,

Please also receive the texts that | exchanged with Dave's Professional (extinguisher servicing).

Again, while | am uncomfortable with personally engaging with my limited knowledge of
different contracting obligations and the relationships between the parties; | stand ready to

assist in any way to fix this.

|
|
|

| Looking forward to your thoughts.

| Sincerely,

|
Elston
| 928-255-8727

hitps://outlook.office365.com/mall/search/id/AAQkKAGFKY|ZIYTg4LTAyNTI{NDOyOSOSZTHLTZkZjA0ZjZHMWY INWAQAMPIJg5uwYlHngocFs7NodQ%... 4/5
5/31/2020 Mail - Stephenson, Elston L - Outlook
| Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 9 of 20

|
| li aus, Department of Labor (2019). OSHA, 29CFR 1910.157 Fire protection. portable fire exgtinguishers.
| | Retrieved from https://www.osha. gov/laws-regs/regulations/standardnumber/1910/1910,157

| 1

| 2, U.S. Department of Labor (2019). OSHA. CPL 2-0.124 Multi-Employer Citation Policy. Retrieved from
https://www.osha.gov/pls/oshaweb/owadisp.show document?p id=2024&p_table=DIRECTIVESH#MULTI

aoe eens Forwarded message ---------
From: <david@halefirenet>

Date: Fri, Dec 13, 2019 at 2:44 PM

Subject: [EXTERNAL] fire extinguisher report

To: <elston stephenson@nps.gov>

Elston
The report is attached

_ David W. Hale

David's Professional Fire Systems inc.
6210 North 10th Street

| | Phoenix, Arizona 85014

License: CR-16 269163

Ph: 602 622-7159

Fax: 602 279-9974

Email: david@halefire.net

https://outlook.office365.com/mail/search/id/AAQKAGFkYjZIY Tg4LTAyNTIINDQyOSO0S2ZThjLTZkZjA0ZjZhMWY 1NWAQAMPLigSuwYIHn3ocFs7NodQ%... 5/5
5/31/2020 Mail - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 10 of 20

Fwd: Verify Fire Extinguishers/Exits Flag/Coco Building

Stephenson, Elston L <elston_stephenson@nps.gov>
Mon 12/23/2019 1:11 PM
To: Risser, Mary V <Mary_Risser@nps.gov>

Mary,

Good Afternoon.

| would like to make that run to the CoCo Building to verify that the Fire Extinguisher and Emergency
Exit work was completed, before the building closes for Xmas.

Should be a quick down and back.

Thank You.

Sincerely,

Elston
928-255-8727

wen nnanan= Forwarded message ---------
From: Stephenson, Elston <elston stephenson@nps.gov>
Date: Fri, Dec 20, 2019 at 2:49 PM

Subject: Re: Verify Fire Extinguishers/Exits Flag/Coco Building
To: Risser, Mary <mary_risser@nps.gov>

Mary,

| decided to stick around because we have not yet gotten a ‘thumbs up' on Kate's hand injury ECOMP.

AJ has not yet received his ECOMP notice and ‘fill ins’.....| have asked that Kate redo the profile to
ensure that his contact info is correct.

She's Ours. I'll stick around until | get a good feeling that we have done good by her. As You know,
trying to do the Admin piece during holiday week (next week) becomes arduous.

| will forward the email traffic for your awareness.

We'll catch the CoCo Building next week!

Thank You.

htips://outlook.office365.com/mail/search/id/AAQKAGFkY|ZIY Taal TAyNTILNDQyOSOSZTHLTZkZjAOZ|ZAMWY INWAGAIPM5XSnSaSOg6IFDNBdEj8%... 1/3
5/91/2020 Mail - Stephenson, Elston L - Outlook

Sincerely Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 11 of 20

Elston
928-255-8727

On Fri, Dec 20, 2019 at 12:38 PM Stephenson, Elston <elston stephenson@nps.gov> wrote:
Hi Mary,

Yes | would like to go to the Flagstaff building before everyone checks out for the day.
| As | mentioned in the Quicktime email, | attempted to verify...it give me a notice that CompTime has
not been approved (even though, of course, You have approved it), and a red-letter warning that |

|
| exceed the 40 hours per week. And give me a "UNV" status.

This is where Sharla or Mitch would do something (that | do not understand) on their end to make it
‘work’,

| Thank You.

|
| Sincerely,

|

| Elston

| 928-255-8727

On Fri, Dec 20, 2019 at 12:00 PM Risser, Mary <mary risser@nps.gov> wrote:
| | Does that mean that you want to go to Flagstaff or talk to the staff member who worked with the building
|

manager?
|

| Did you verify your time?
Mary

On Fri, Dec 20, 2019 at 11:44 AM Stephenson, Elston <elston stephenson@nps.gov> wrote:
| | Mary,

|
|

- Good Morning.

[would like to verify the work which was supposed to be done in the Flagstaff/Coconino
_ building with the fire extinguishers and Emergency Exits.

|
| | Thank You.

| Sincerely,

Elston
| 928-255-8727

https://outlook.office365.com/mail/search/id/AAQkAGFkY|ZIY Tg4LTAyNTItND QyOSOSZTHILTZkZjA0Z|ZHMWY 1 NWAGAIpMSXSn5a50g6IFDNBdE]8%... 2/3
5/37/2020 Mail - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 12 of 20

Mary Risser, Acting Superintendent

| Grand Canyon National Park

| | P.O. Box 129 .
| | Grand Canyon, AZ 86023

|.
| |
| |

928.638.7945 (office)
662.308.8829 (iPhone)

"Quotes found on the internet are not always accurate." Abraham Lincoln

|

FIND YOUR

PARK

https://outlook.office365,com/mail/searchfid/ AAQKAGFKY|ZIYTg4LTAyNTIINDQyOSO52ThLTZkZjA0ZjZhMWY 1 NwAQAlIpM5xSnS5aSOg6IFDNBdGEj8%... 3/3
5/31/2020 Mail - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 13 of 20

Re: Verify Fire Extinguishers/Exits Flag/Coco Building

Risser, Mary V <Mary_Risser@nps.gov>

Fri 12/20/2019 12:00 PM

To: Stephenson, Elston L <elston_stephenson@nps.gav>

Does that mean that you want to go to Flagstaff or talk to the staff member who worked with the building manager?

Did you verify your time?
Mary

On Fri, Dec 20, 2019 at 11:44 AM Stephenson, Elston <elston stephenson@nps.gov> wrote;
Mary,

Good Morning.

| | would like to verify the work which was supposed to be done in the Flagstaff/Coconino building
with the fire extinguishers and Emergency Exits.

Thank You.

Sincerely,

| Elston
| 928-255-8727

Mary Risser, Acting Superintendent
Grand Canyon National Park
P.O. Box 129

Grand Canyon, AZ 86023

928.638.7945 (office)
662.308.8829 (iPhone)

"Quotes found on the internet are not always accurate." Abraham Lincoln

PARK ©’

hitps://outlock.office365,com/mail/search/id/AAQkKAGFRY|ZIV Tg4LTAyNTIIN DQyOSO52THLTZkZjA0Z|ZHMWY INWAQAGdEJCSoUBdPg233jDt75b4%.,. 1/1
5/31/2020

Mail - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 14 of 20

Re: [EXTERNAL] fire extinguisher report

Drapeaux, Brian J <brian_drapeaux@nps.gov>
Mon 12/16/2019 8:34 AM

To: Risser, Mary V <Mary_Risser@nps.gov>
Ce: Carrico, Lisa <Lisa_Carrico@nps.gov>; Stephenson, Elston L <elston_stephenson@nps.gov>

Will do.

Brian Drapeaux

Deputy Superintendent, Business Operations
Grand Canyon National Park

P.O. Box 129

Grand Canyon AZ 86023

928-638-7945 Phone

928-638-7815 Fax

Brian Drapeaux@nps.gov

On Sat, Dec 14, 2019 at 6:50 PM Risser, Mary <mary_risser@nps.gov> wrote:

}

https://outlook.office365.com/mail/search/id/AAQKAGFYjZIY Tg4LTAyNTIINDOyOSOSZThHILTZkZjA0Z|ZHMWY'4 NwAQAGDOoRZmh%2BS5LkSdATILWi...

Brian, Would you please take the lead on this problem?
Thank you,

Mary

On Sat, Dec 14, 2019 at 3:01 PM Stephenson, Elston <elston stephenson@nps.gov> wrote:
Lisa, Brian,

Good Afternoon.

This is a concerned follow-up from yesterday's "Fire Extinguisher/Emergency Exits CoCo Building"
email.

Please receive this 'report' that Dave's Professional sent to me as | was on the phone with them in
the Coconino building conducting inspections,

| The concern---particularly after receiving this ‘report’ (| only opened it this morning) from Dave's
Professional Extinguisher Servicing is that this is now an ‘OSHA Willful’ violation situation. | had a

feeling as Dave was letting me know during yesterday's phone call that they had engaged
| Building Owner's Maint Tech several times some months ago. The date of the ‘report’, October 23,

2018 (attached) confirms this.

Another concern is that we immediately take action so that Coconino and Building Owner's
‘Willful’ does not become ours

|
|

14
5/31/2020

|

j
t

|
{
{
|
\
|
}

Mail - Stephenson, Elston L - Outlook
And coneerned that we Rok iter olf Workers and best USAvey auf CombAnent HdPSeriousness
by communicating and correcting this situation ASAP,

While the good news is that GRCA/NPS (upstairs) wasn't the only section with expired fire
extinguishers; the bad news is that all of the fire extinguishers in the entire building are expired,
The worst news is that somebody---at least Building Owner Maintenance Tech and likely
Coconino knew (forewarned) of the upcoming expiration of the fire extinguishers and let them
expire anyway: OSHA Willful violations (per extinguisher) IAW OSHA 29CFR 1910.157(e)(3) and
likely 29CFR 1910.157(e)(4) (below)

Applying the OSHA 'multi-employer' differentiated liability model, GRCA/NPS Is the ‘Exposing’
employer (for NPS employees). Depending on contractual obligations Building Owner or
Coconino Forestry are ‘Creating’, ‘Controlling’ and ‘Correcting’. Again, we should not allow their
Willful become ours.

Also, | purchased some ‘Post-It's to attach to the fire extinguishers to let out workers know of the
hazard (OSHA requirement) only to find that several of the wall cases are locked shut with an
inaccessible ‘break glass’ handle on the door.

Recommend that GRCA/NPS lets Coconino Forestry know verbally in writing of the violations with
the expression that while this violation is several links away from an accident/injury; this exposure
is unacceptable and requires immediate correction. And that this notification be someone higher
in the authority chain than the Maintenance Tech.

| Also recommend that GRCA/NPS request that the extinguishers be unlocked because this Is not

| conducive to conducting and documenting required monthly checks, and that there is near-no

| possibility that our workers will engage in the theft or misuse that such measures are intended to
|

prevent.

| As we report our progress on Inspections to OSHA, OSHA will be looking for some sort of
summary which list any defects/hazards discovered during the inspections. But they will also

| expect to see what corrective action was taken to fix those defects/hazards. This will be one of

| them. Respectfully, OSHA will be less impressed with our volume than action taken on identified

hazards,

| It is important that GRCA/NPS not let Coconino/Building Owner's Willful violation become our
Willful violation. The best way to do this is to, again; make the senior-most persons aware of the

| extinguishers both verbally and in writing. And to get it fixed immediately.

|

| | will attach pics of the 7 extinguishers that | inspected. According to the list there is likely 1 in the

break room that I missed.

| Please also receive the texts that | exchanged with Dave's Professional (extinguisher servicing).

| Again, while | am uncomfortable with personally engaging with my limited knowledge of different

| contracting obligations and the relationships between the parties; | stand ready to assist in any

| way to fix this.

| Looking forward to your thoughts.

https://outlook.office365.com/mall/search/id/AAQKAGFY|ZIY Tg4 TAYNTIINDQyOSOSZTHLTZkZjA0Z|ZzhMWY 1 NwAQAGDOoRZmh%2B5LkSdATILWI... 2/4
5/31/2020 Mail - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 16 of 20

Thank You.

|
)
|
|
{
|
|
|
|
|

| Sincerely,

Elston
| 928-255-8727

|
1 |
| | 1. U.S. Department of Labor (2019), OSHA, 29CFR 1910.157 Fire protection. portable fire exgtinguishers.
Retrieved from https://www.osha.gov/laws-regs/regulations/standardnumber/1910/1910.157

2. U.S. Department of Labor (2019). OSHA. CPL 2-0.124 Multi-Employer Citation Policy. Retrieved from
https://www.osha gov/pls/ashaweb/owadisp.show_document?p_id=2024&p_table=DIRECTIVESHMULT|

soreenna- Forwarded message ---------

| From: <david@halefire.net>

| | Date: Fri, Dec 13, 2019 at 2:44 PM

Subject: [EXTERNAL] fire extinguisher report

To: <elston stephenson@nps.gov>

Elston
The report is attached

David W. Hale

David's Professional Fire Systems inc.
6210 North 10th Street

Phoenix, Arizona 85014

License: CR-16 269163

Ph: 602 622-7159

Fax: 602 279-9974

Email: david@halefire.net

Mary Risser, Acting Superintendent
Grand Canyon National Park

| P.O. Box 129

| Grand Canyon, AZ 86023

|

| 928.638.7945 (office)

| 662.308.8829 (iPhone)
|

| "Quotes found on the internet are not always accurate." Abraham Lincoln

|
https://outlook.office365.com/mail/search/id/AAQKAGFY|ZIYTg4LTAyNTIINDQyOSOS2ZTHILTZKZjA0Z|ZzhMWY't NwAQAGDOoRZmh%s2B5LkSdATILWI... 3/4
5/31/2020 Mail - Stephenson, Elston L - Outlook
Case 3:19-cv-08268-DLR Document 37-2 Filed 06/17/20 Page 17 of 20

FIND YOUR

PARK

https://outlook.office365.com/mail/search/id/AAQkKAGFKYjZIYTg4LTAyN TIINDOQyOSOSZThjLTZkZjA0ZjZHMWY INWAQAGDOoRZmh%2BSLkKSdATILWi... 4/4
Case 3:19-cv-08268-DLR Document 37-2. Filed 06/17/20 Page 18 of 20

~ EXHIBIT Z-13

Case 3:19-cv-08268-DLR_ Documen -2. Filed 06

%
%
Q, / : Ys
i me
D ? ™ .
2. SH
oO ‘ rhe
QD wf Thy A te
P aN Ps iN
Bp f ™~ fs SA us, yf =
5 D. ee ae et
SP TUE OSE ere
SC SK AN AKO
So “< eis
a S° a weet
oS. AAR
PF NM
1 V Ss ~*~
mA OY SO os KPA
oid x Ss ¢
‘ § S
Ley a/ $
_
i we
=], Legend Sy
s|| Garmma Dose Rates (urem/hr)
i © 23-66
* 66-8
i) 8-138
13.3 - 33.2
i » 33.2 - 66
zi} © 66-133
i ® 133-275
wi) 68 «> 275 Nee ses eke
|| Site ee PRES RE ht agg 2 NES
|| Pea ’ Confidential Deliberative \.—-<—-
| Pee Cyclone Fence Privileged Draft Document _-_-; ~”
i (J Investigation Areas _ NottobeReleased-  -- >? -
Background Grids FOIA Protected Document — =<.
By SSeGanyon Rim y sit ae fa a ssyster sted the Ari
| Site-specific coordinate system is tied fo the Arizona
i “ae Road State Plane coordinate system. —<——
“+ Railroad | The LiDAR feature information under layer is approximate [= ===
‘ ‘ 4 and not tied directly to Sit dinate system.
Site-Specific Coordinate System [lfipansouce,
in LIDAR implemented by AMEC in 2007 on behalf of
G prem = microrem ‘| Tech-Sym Corporation and Cotter Corporation.
i a

4 A Main OU Investigation
| | AOCs and Background fm
grids located ~3600 feat
to the north

Railroad Ore
Loading
Background

Rowe Well Rd Area

Railroad Ore
Loading Area

ae
Operations
Bass Pal.

500 Feel [

PSL
‘Area
Ce

» ZF ES ee a A ; Uf, ib AP
<7 Perimeter,Ravine Area
pA i pf PK if

TA

Figure 3-3
Surface Gamma Dose Rates

OU1 Orphan Mine Site
_ OUT EECA
Grand Canyon National Park, Arizona

iA

N
0 100 200 300 600
—— —1 Feet

URS 1 inch = 300 feet ais

